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   6
       Attorney for Plaintiffs
   7
   8
   9                              UNITED STATES DISTRICT COURT
                                    FOR THE CENTRAL DISTRICT
  10                                      OF CALIFORNIA
  11
  12
  13
       ------------------------------------------------------X   CIVIL ACTION NO.
  14
       BRAVADO INTERNATIONAL GROUP
  15   MERCHANDISING SERVICES, INC. and
  16   ZION ROOTSWEAR, LLC,
                                                                 COMPLAINT FOR
  17                                                             TRADEMARK AND
  18                                                             RIGHT OF PUBLICITY
                                     Plaintiffs,                 INFRINGEMENT AND
  19
                                                                 UNFAIR COMPETITION
  20   SKREENED, LTD, DANIEL FOX, THE
       DREAM JUNCTION LLC and BLAIR
  21
       DORSEY,
  22
  23
                                      Defendants.
  24   ------------------------------------------------------X
  25
  26
  27
  28
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   1                               JURISDICTION AND VENUE
   2
             1.     Plaintiff      BRAVADO             INTERNATIONAL              GROUP
   3
       MERCHANDISING SERVICES, INC. (“Bravado”) is a corporation duly
   4
       organized under the laws of the State of California with a place of business in Los
   5
       Angeles, California. Plaintiff ZION ROOTSWEAR, LLC (“Zion”) is a limited
   6
       liability corporation duly organized under the laws of the State of Florida with a
   7
   8
       place of business in Los Angeles, California.

   9
  10         2.     Upon information and belief, at all relevant times herein, Defendants
  11   SKREENED, LTD, DANIEL FOX, THE DREAM JUNCTION LLC and BLAIR
  12   DORSEY have transacted business in and/or have committed their infringing
  13   activities alleged below in the Central District of California, including selling
  14   infringing goods in and/or transporting infringing goods and/or causing or
  15   directing the transport of goods into the Central District of California, and/or
  16   knowing that said activities would affect Bravado, a California corporation,
  17   and/or would have an effect in the Central District of California.           Upon
  18   information and belief, Defendants DANIEL FOX and BLAIR DORSEY
  19
       authorized and/or directed and/or participated in the infringement alleged herein.
  20
  21
             3.     This action arises under the Lanham Trademark Act (15 U.S.C. 1051
  22
       et seq). This Court has jurisdiction over this action under 28 U.S.C. 1331, 28
  23
       U.S.C. 1338(a) and 15 U.S.C. 1125(a). This Court also has supplemental
  24
       jurisdiction over the Second, Third, Fourth, Sixth, Seventh, Eighth and Ninth
  25
       Causes of Action because they arise out of a common nucleus of operative facts
  26
       as the First Cause of Action.
  27
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   1                                           PARTIES
   2
   3         4.        The Doors, Five Seconds of Summer, The Weeknd, Kanye West,
   4   Tupac Shakur, Nicki Minaj, Black Sabbath, Guns N’ Roses, Ozzy Osbourne,
   5
       Justin Bieber, Ariana Grande, Slipknot and Bob Marley (the “Musical
   6
       Performers”) are world famous performers who have used their respective names,
   7
       trademarks and likenesses to identify themselves in all phases of the
   8
       entertainment industry to distinguish themselves from other professional
   9
       entertainers.
  10
  11
             5.        Bravado has been, at all times relevant herein, engaged in the
  12
       business of marketing and selling merchandise bearing the names, trade names,
  13
       trademarks, logos and/or likenesses of the Musical Performers throughout the
  14
  15
       United States pursuant to agreements between Bravado and the Musical

  16   Performers that grant to Bravado the exclusive right to sell products bearing said

  17   parties’ names, trademarks and likenesses and/or the right to commence lawsuits
  18   regarding infringement of their rights. Zion has been, at all times relevant herein,
  19   engaged in the business of marketing and selling merchandise bearing the name,
  20   trade name, trademark, logo and/or likeness of Bob Marley throughout the United
  21   States and has been granted the exclusive right to sell products bearing the Bob
  22   Marley name, trademark and likeness and/or the right to commence lawsuits
  23   regarding infringement of the Bob Marley rights.
  24
  25         6.        Defendants are or were distributing, advertising and selling
  26
       unauthorized shirts and/or other items embodying the names, trademarks and/or
  27
       likenesses of the Musical Performers (collectively the “Infringing Merchandise”)
  28
       
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                                                 3
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   1   and/or using the names, trademarks and/or likenesses to sell and/or distribute
   2   products throughout the United States by various means of interstate transport and
   3   delivery in violation of the rights of Plaintiffs and the Musical Performers under
   4   the Lanham Act.
   5
   6
                                       BACKGROUND
   7
   8
              7.    Each of the Musical Performers has achieved nationwide fame and
   9
       notoriety.
  10
  11
              8.    Since the dates set forth below, the Musical Performers have
  12
       identified themselves with each party’s respective name and trademark as set
  13
       forth below. Separately, and/or in conjunction with the likenesses of the Musical
  14
  15
       Performers, the Musical Performers’ trademarks and/or likenesses have been

  16   used to distinguish merchandise pertaining to the Musical Performers from other

  17   parties.
  18                                         Trademark Used By
                                             Musical Performer
  19
                                             As Early As
  20                Trademark                Following Date
  21                The Doors                1967
  22
                    Black Sabbath            1969
                    Guns N’ Roses            1984
  23                Ozzy Osbourne            1980
  24                Slipknot                 1996
                    Justin Bieber            2008
  25                Five Seconds of
  26                 Summer                  2013
                    Bob Marley               1976
  27
                    Tupac Shakur             1996
  28                Nicki Minaj              2010
       
       
                                                4
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   1                Ariana Grande                2000
   2                Kanye West                   2002
                    The Weeknd                   2011
   3
   4         9.      Each of the Musical Performers has sold and/or has had licensed
   5   sales of tens of thousands of dollars worth of merchandise bearing each party’s
   6   respective name, trademark and/or likeness. Defendants’ sale of the Infringing
   7   Merchandise is and will be without permission or authority of Plaintiffs or any of
   8   the Musical Performers.
   9
  10         10.     Defendants’ unlawful activity results in irreparable harm and injury
  11   to Plaintiffs and the Musical Performers in that, among other things, it deprives
  12
       Plaintiffs and the Musical Performers of their absolute right to determine the
  13
       manner in which their images are presented to the general public through
  14
       merchandising; deceives the public as to the origin and sponsorship of such
  15
       merchandise; wrongfully trades upon and cashes in on the Musical Performers’
  16
       reputations, commercial value and exclusive rights and it irreparably harms and
  17
       injures the reputations of Plaintiffs and the Musical Performers.
  18
  19
  20                    AS AND FOR A FIRST CAUSE OF ACTION
                             Violation of 15 U. S. C. 1125(a)
  21
  22         11.    Plaintiffs repeat and reallege paragraphs 1 through 10 of this
  23   Complaint as if fully set forth herein.
  24
  25         12.    This cause arises under 15 U.S.C. 1125(a) relating to trademarks,
  26
       trade names and unfair competition and involves false designations in commerce.
  27
  28
       
       
                                                   5
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   1         13.   The names, trademarks and likenesses of the Musical Performers
   2   including all of the names of the Musical Performers as well as other trademarks
   3   owned by the Musical Performers including The Weeknd’s XO mark and Five
   4   Seconds of Summer’s 5SOS mark, (hereinafter collectively referred to as the
   5
       “Musical Performers’ Marks”) have been used as marks to identify the respective
   6
       Musical Performers and have been used in connection with their performing
   7
       services and the sale of various types of merchandise throughout the United
   8
       States. As a result of same, the Musical Performers’ Marks have developed and
   9
       now have a secondary and distinctive trademark meaning to purchasers of
  10
       merchandise.
  11
  12
             14.   Infringing Merchandise has been advertised, manufactured and/or
  13
       sold by Defendants, containing and/or using the names, trademarks, and/or
  14
       likenesses of the Musical Performers.        By misappropriating and using the
  15
  16
       Musical Performers’ Marks in advertising and/or on the goods that Defendants

  17   have sold, Defendants have misrepresented and falsely described to the general

  18   public the origin and source of the Infringing Merchandise so as to create the
  19   likelihood of confusion by the ultimate purchaser as to both the source and
  20   sponsorship of the Infringing Merchandise.
  21
  22         15.   Defendants’ advertising, distributing, manufacturing and sale of the
  23   Infringing Merchandise has infringed and will infringe upon and dilute the
  24   trademarks, names and likenesses of the Musical Performers.
  25
  26         16.   Defendants’ advertising, manufacturing and/or sale of the Infringing
  27   Merchandise will be damaging to and will dilute the good will generated by each
  28   of the Musical Performers and the reputations which all of the Musical Performers
       
       
                                               6
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   1   have developed in connection with the sale of legitimate, authorized and high
   2   quality merchandise.
   3
   4         17.    Defendants’ unlawful merchandising activities are without permission
   5   or authority of Plaintiffs or any of the Musical Performers and constitute express
   6   and implied misrepresentations that the Infringing Merchandise was created,
   7
       authorized or approved by Plaintiffs and/or the Musical Performers.
   8
   9
             18.    Defendants’ aforesaid acts are willful violations of 15 U.S.C. 1125(a)
  10
       in that Defendants used, in connection with goods and services, a false designation
  11
       of origin and have caused and will continue to cause said goods (the Infringing
  12
       Merchandise) to enter into interstate commerce.
  13
  14
             19.    Plaintiffs and the Musical Performers will have no adequate remedy at
  15
       law if Defendants’ activities are not enjoined and will suffer irreparable harm and
  16
  17
       injury to their images and reputations as a result thereof.

  18
  19
             20.    As a result of Defendants’ activities, Plaintiffs and the Musical

  20   Performers have been damaged in an amount not yet determined or ascertainable.

  21
                       AS AND FOR A SECOND CAUSE OF ACTION
  22                 Violation of Section 3344 of the California Civil Code
  23
  24         21.    Plaintiffs repeat and reallege paragraphs 1 through 10 and 12
  25   through 20 of this Complaint as if fully set forth herein.
  26
  27
  28
       
       
                                                  7
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   1         22.    Each Musical Performer is a celebrated musical performer with a
   2   proprietary interest, inter alia, in the use in public of each party’s respective name
   3   and/or likeness.
   4
   5
             23.    Upon information and belief, Defendants have sold, manufactured
   6
       and/or distributed the Infringing Merchandise bearing the names and/or
   7
       likenesses of the Musical Performers and/or have used said names and/or
   8
       likenesses in advertising for Defendants’ goods.
   9
  10
             24.    Neither Plaintiffs nor any of the Musical Performers or any party
  11
       acting on their behalf has given oral or written consent to Defendants for the use
  12
       of said names and/or likenesses on any items and/or in connection with
  13
       advertising for any goods.
  14
  15
  16
             25.    Defendants have violated California Civil Code Section 3344 by

  17   knowingly appropriating, using and exploiting the names and/or likenesses of the

  18   Musical Performers on the Infringing Merchandise that they distribute or in
  19   advertising for any goods for their commercial benefit without the consent of
  20   Plaintiffs or the Musical Performers.
  21
  22         26.    As a result of their infringing activities, Defendants have deprived
  23   Plaintiffs and the Musical Performers of the right to control the time, place, terms
  24   and manner by which to publicize said parties’ special talents.
  25
  26         27.    Plaintiffs and the Musical Performers will have no adequate remedy at
  27   law if Defendants’ activities are not enjoined and will suffer irreparable harm and
  28   injury to their images and reputations as a result thereof.
       
       
                                                  8
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   1         28.    As a result of Defendants’ activities, Plaintiffs and the Musical
   2   Performers have been damaged in an amount not yet determined or ascertainable.
   3
   4                    AS AND FOR A THIRD CAUSE OF ACTION
                        Violation of Common Law Unfair Competition
   5
   6
             29.    Plaintiffs repeat and reallege paragraphs 1 through 10, 12 through 20
   7
       and 22 through 28 of this Complaint as if fully set forth herein.
   8
   9
             30.    The marks used on the Infringing Merchandise are identical to the
  10
       Musical Performers’ Marks and Defendants’ use thereof is likely to, and is
  11
       certainly intended to, cause confusion to purchasers.
  12
  13
             31.    Defendants, by misappropriating and using the Musical Performers’
  14
  15
       Marks, have utilized unfair means to usurp the good will and distinctive attributes

  16   of the Musical Performers’ Marks.

  17
  18         32.    Defendants have misrepresented and falsely described to the general
  19   public the origin and source of the Infringing Merchandise so as to cause
  20   confusion by the ultimate purchaser as to both the source and sponsorship of the
  21   Infringing Merchandise.
  22
  23         33.    Plaintiffs and the Musical Performers will have no adequate remedy
  24   at law if Defendants’ activities are not enjoined and will suffer irreparable harm
  25   and injury to their images and reputations as a result thereof.
  26
  27
  28
       
       
                                                  9
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    1         34.    As a result of Defendants’ activities, Plaintiffs and the Musical
    2   Performers have been damaged in an amount not yet determined or ascertainable.
    3
    4                   AS AND FOR A FOURTH CAUSE OF ACTION
                         Violation of Common Law Right of Publicity
    5
    6
              35.    Plaintiffs repeat and reallege paragraphs 1 through 10, 12 through
    7
        20, 22 through 28 and 30 through 34 of this Complaint as if fully set forth herein.
    8
    9
              36.    Defendants’ unauthorized use of the Musical Performers’ names
   10
        and/or likenesses constitutes common law right of publicity violations.
   11
   12
               37. Plaintiffs and the Musical Performers will have no adequate remedy
   13
        at law if Defendants’ activities are not enjoined and will suffer irreparable harm
   14
   15
        and injury to their images and reputations as a result thereof.

   16
   17          38. As a result of Defendants’ activities, Plaintiffs and the Musical
   18   Performers have been damaged in an amount not yet determined or ascertainable.
   19
   20                       AS AND FOR A FIFTH CAUSE OF ACTION
                            Trademark Dilution Under 15 U.S.C. 1125(c)
   21
   22
               39. Plaintiffs repeat and reallege paragraphs 1 through 10, 12 through
   23
        20, 22 through 28, 30 through 34 and 36 through 38 of this Complaint as if fully
   24
        set forth herein.
   25
   26
              40.    By virtue of the Musical Performers’ long and continuous use of the
   27
        Musical Performers’ Marks in interstate commerce, said marks have become and
   28
        
        
                                                  10
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    1   continue to be famous within the meaning of 15 U.S.C. 1125(c). As such, said
    2   marks are eligible for protection against dilution pursuant to 15 U.S.C. 1125(c).
    3
    4         41.    Defendants’ use of the Musical Performers’ Marks in connection with
    5
        the merchandise that they are selling has threatened to cause and is causing dilution
    6
        of the distinctive quality of the famous Musical Performers’ Marks by lessening
    7
        Plaintiffs’ and the Musical Performers’ capacity to identify the goods in violation
    8
        of 15 U.S.C. 1125(c).
    9
   10
              42.    Plaintiffs and the Musical Performers will have no adequate remedy at
   11
        law if Defendants’ activities are not enjoined and will suffer irreparable harm and
   12
        injury to their images and reputations as a result thereof.
   13
   14
              43.    As a result of Defendants’ activities, Plaintiffs and the Musical
   15
   16
        Performers have been damaged in an amount not yet determined or ascertainable.

   17
                         AS AND FOR A SIXTH CAUSE OF ACTION
   18               Violation of Section 3344.1 of the California Civil Code
   19
   20         44.    Plaintiffs repeat and reallege paragraphs 1 through 10, 12 through
   21   20, 22 through 28, 30 through 34, 36 through 38 and 40 through 43 of this
   22   Complaint as if fully set forth herein.
   23
   24         45.    Jim Morrison was a celebrated musical performer with a proprietary
   25   interest, inter alia, in the use in public of his name and likeness. Jim Morrison
   26   died on July 3, 1971. On February 2, 2009, Anne R. Chewning, managing partner
   27   of the George Morrison Family Partnership, L.P. (“GMFP”), registered a claim
   28
        pursuant to California Civil Code Section 3344.1. Bravado has been granted the
        
        
                                                   11
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    1   exclusive right to use the Jim Morrison likeness in connection with merchandise
    2   including shirts.
    3
    4         46.    Defendants have used the Jim Morrison name and likeness in
    5
        connection with the advertising, sale and/or distribution of the Infringing
    6
        Merchandise.
    7
    8
              47.    Neither Bravado nor any party acting on behalf of GMFP has given
    9
        oral or written consent to Defendants for the use of Jim Morrison’s name and/or
   10
        likeness.
   11
   12
              48.    Defendants have violated California Civil Code Section 3344.1 by
   13
        knowingly appropriating, using and exploiting the Jim Morrison name and
   14
        likeness in connection with commercial exploitation and/or advertisement of the
   15
        merchandise that they have distributed for their commercial benefit without the
   16
   17
        consent of Bravado or any party authorized to give such consent.

   18
   19
              49.    As a result thereof, Defendants have deprived Bravado and GMFP

   20   of the right to control the time, place, terms and manner by which to publicize

   21   Jim Morrison’s special talents.
   22
   23         50.    Defendants’ use of the Jim Morrison name and likeness in
   24   connection with the sale and distribution of the Infringing Merchandise has
   25   caused, is causing and will continue to cause Bravado and/or GMFP irreparable
   26   harm and injury. If Defendants’ activities are not enjoined, Bravado and/or
   27   GMFP will suffer irreparable harm and injury.
   28
        
        
                                                12
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    1         51.    As a result of Defendants’ activities, Bravado and GMFP have been
    2   damaged in an amount not yet determined or ascertainable.
    3
    4                    AS AND FOR A SEVENTH CAUSE OF ACTION
    5
                     Violation of Washington Code Section 63.60.010 et seq.
    6
    7
              52.    Plaintiffs repeat and reallege paragraphs 1 through 10, 12 through
    8
        20, 22 through 28, 30 through 34, 36 through 38, 40 through 43 and 45 through
    9
        51 of this Complaint as if fully set forth herein.
   10
   11
              53.    The Musical Performers are celebrated musical performers and
   12
        groups with a proprietary interest, inter alia, in the use in public of their
   13
        respective names and/or the likenesses of the individual members thereof.
   14
   15
   16         54.    Defendants have sold, manufactured, advertised and distributed

   17   and/or caused the sale and distribution of the Infringing Merchandise bearing the
   18   names and/or likenesses of at least some of the Musical Performers into the State
   19   of Washington and/or have used said names and likenesses in advertising the sale
   20   of said goods.
   21
   22         55.    Neither Plaintiffs nor the Musical Performers or any party acting on
   23   their behalf has given oral or written consent to Defendants for the use of said
   24   names and/or likenesses on any items and/or in connection with any advertising.
   25
   26         56.    Defendants have violated the Washington Right of Publicity Statute,
   27   Washington Code Section 63.60.010 et seq., by appropriating, using and
   28
        exploiting the names and/or likenesses of the Musical Performers on the
        
        
                                                   13
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    1   Infringing Merchandise that they have manufactured, distributed and/or
    2   transported and/or caused the Infringing Merchandise to be distributed and/or
    3   transported into Washington and/or by advertising said products for their
    4   commercial benefit without the consent of Plaintiffs or the Musical Performers.
    5
    6         57.    As a result thereof, Defendants have deprived Plaintiffs and the
    7
        Musical Performers of the right to control the time, place, terms and manner by
    8
        which to publicize said parties’ special talents.
    9
   10
              58.    Plaintiffs and the Musical Performers will have no adequate remedy
   11
        at law if Defendants’ activities are not enjoined and will suffer irreparable harm
   12
        and injury to their images and reputations as a result thereof.
   13
   14
              59.    As a result of Defendants’ activities, Plaintiffs and the Musical
   15
        Performers have been damaged in an amount not yet determined or ascertainable.
   16
   17
                      AS AND FOR AN EIGHTH CAUSE OF ACTION
   18
                    Violation of Section 3344.1 of the California Civil Code
   19
   20         60.    Plaintiffs repeat and reallege paragraphs 1 through 10, 12 through
   21   20, 22 through 28, 30 through 34, 36 through 38, 40 through 43, 45 through 51
   22   and 53 through 59 of this Complaint as if fully set forth herein.
   23
   24
              61.    Bob Marley was a celebrated musical performer with a proprietary
   25
        interest, inter alia, in the use in public of his name and likeness. Bob Marley
   26
        died on May 11, 1981. On April 19, 1990, Bob Marley Music, Inc. (“Bob
   27
   28
        
        
                                                   14
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    1       Marley Music”) registered a claim pursuant to California Civil Code Section
    2       3344.1. Zion has been granted the exclusive right to use the Bob Marley name
    3       and likeness in connection with merchandise including apparel.
    4
    5           62.   Defendants have used the Bob Marley name and likeness in
    6   connection with the advertising, sale, manufacture and/or distribution of the
    7
        Infringing Merchandise.
    8
    9
                63.   Neither Zion nor any party acting on its behalf has given oral or
   10
        written consent to Defendants for the use of Bob Marley’s name and/or likeness.
   11
   12
                64.   Defendants have violated California Civil Code Section 3344.1 by
   13
        knowingly appropriating, using and exploiting the Bob Marley name and likeness
   14
        in connection with commercial exploitation and/or advertisement of the
   15
        merchandise that they have distributed for their commercial benefit without the
   16
   17
        consent of Zion or any party authorized to give such consent.

   18
   19
                65.   As a result thereof, Defendants have deprived Zion of the right to

   20   control the time, place, terms and manner by which to publicize Bob Marley’s

   21   special talents.
   22
   23           66.   The use of the Bob Marley name and likeness in connection with the
   24   sale and distribution of the Infringing Merchandise by Defendants has caused, is
   25   causing and will continue to cause Zion irreparable harm and injury. If
   26   Defendants’ activities are not enjoined, Zion will suffer irreparable harm and
   27   injury.
   28
        
        
                                                  15
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    1            67.    As a result of Defendants’ activities, Zion has been damaged in an
    2       amount not yet determined or ascertainable.
    3
    4                       AS AND FOR A NINTH CAUSE OF ACTION
    5                  Violation of Section 3344.1 of the California Civil Code
    6
                 68.    Plaintiffs repeat and reallege paragraphs 1 through 10, 12 through
    7
        20, 22 through 28, 30 through 34, 36 through 38, 40 through 43, 45 through 51,
    8
    9
        53 through 59 and 61 through 67 of this Complaint as if fully set forth herein.

   10
   11            69.    Tupac Shakur was a celebrated musical performer with a proprietary
   12   interest, inter alia, in the use in public of his name and likeness. Tupac Shakur
   13   died on September 2, 1996. On September 27, 2004, Amaru Entertainment, Inc.
   14   (“Amaru”) registered a claim pursuant to California Civil Code Section 3344.1.
   15   Bravado has been granted the exclusive right to use the Tupac Shakur likeness in
   16   connection with merchandise including shirts.
   17
   18            70.    Defendants have used the Tupac Shakur name and likeness in
   19   connection with the advertising, sale and/or distribution of the Infringing
   20   Merchandise.
   21
   22
                 71.    Neither Bravado nor any party acting on behalf of Amaru has given
   23
        oral or written consent to Defendants for the use of Tupac Shakur’s name and/or
   24
        likeness.
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    1         72.    Defendants have violated California Civil Code Section 3344.1 by
    2   knowingly appropriating, using and exploiting the Tupac Shakur name and
    3   likeness in connection with commercial exploitation and/or advertisement of the
    4   merchandise that they have distributed for their commercial benefit without the
    5
        consent of Bravado or any party authorized to give such consent.
    6
    7
              73.    As a result thereof, Defendants have deprived Bravado and Amaru
    8
        of the right to control the time, place, terms and manner by which to publicize
    9
        Tupac Shakur’s special talents.
   10
   11
              74.    Defendants’ use of the Tupac Shakur name and likeness in
   12
        connection with the sale and distribution of the Infringing Merchandise has
   13
        caused, is causing and will continue to cause Bravado and/or Amaru irreparable
   14
        harm and injury. If Defendants’ activities are not enjoined, Bravado and/or
   15
        Amaru will suffer irreparable harm and injury.
   16
   17
   18         75.    As a result of Defendants’ activities, Bravado and Amaru have been

   19   damaged in an amount not yet determined or ascertainable.
   20
   21         WHEREFORE, Plaintiffs respectfully pray that this Court grant the
   22   following relief:
   23
   24         A.    A Preliminary Injunction restraining, enjoining and prohibiting each
   25   of the Defendants from manufacturing, distributing, advertising or selling any
   26   and all merchandise bearing the names, trademarks and/or the likenesses of any
   27   of the Musical Performers or any one or more of them and/or anything
   28   confusingly similar thereto and/or any mark or designation that would cause
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                                                17
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    1   consumers to believe that Defendants’ merchandise was sponsored and/or
    2   authorized by Plaintiffs and/or any of the Musical Performers;
    3
    4         B.     A Permanent Injunction restraining, enjoining and prohibiting each
    5
        of the Defendants from manufacturing, distributing, advertising or selling any
    6
        and all merchandise bearing the names, trademarks and/or the likenesses of any
    7
        of the Musical Performers or any one or more of them and/or anything
    8
        confusingly similar thereto and/or any mark or designation that would cause
    9
        consumers to believe Defendants’ merchandise was sponsored and/or authorized
   10
        by Plaintiffs and/or any of the Musical Performers;
   11
   12
              C.    Three times Defendants’ profits or three times the damages suffered
   13
        by Plaintiffs or the Musical Performers, whichever is greater, and reasonable
   14
        attorneys’ fees and costs pursuant to the First and Fifth Causes of Action;
   15
   16
   17         D.     Defendants’ profits and/or the damages suffered by Plaintiffs or the

   18   Musical Performers and/or statutory damages of no less than $750.00 for each
   19   name and/or likeness that Defendants have used on each different product and/or
   20   in advertising plus punitive damages and attorneys’ fees pursuant to California
   21   Civil Code Sections 3344 and 3344.1 (the Second, Sixth, Eighth and Ninth
   22   Causes of Action);
   23
   24         E.     Defendants’ profits or damages suffered by Plaintiffs or the Musical
   25   Performers, whichever is greater, plus punitive damages pursuant to the Third
   26   and Fourth Causes of Action;
   27
   28
        
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                                                  18
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    1        F.      Statutory damages of $2,000,000.00 pursuant to 17 U.S.C. 1117(c)
    2   for each of the trademarks that Defendants have used in connection with the sale
    3   of their counterfeit products;
    4
    5        G.      Defendants’ profits and/or the damages suffered by Plaintiffs or the
    6   Musical Performers and/or statutory damages of no less than $1,500.00 for each
    7
        name and/or likeness that Defendants have used on each different product and/or
    8
        in advertising in Washington plus punitive damages and attorneys’ fees pursuant
    9
        to Washington Code Section 63.60.060 (the Seventh Cause of Action);
   10
   11
             H.      An award of interest, including pre-judgment interest, on the
   12
        foregoing sums; and
   13
   14
              I.     Such other and further relief that this Court deems to be just and
   15
        proper.
   16
   17
   18   Dated: March 29, 2017                 Respectfully submitted,
   19          Culver City, CA
   20                                         By: s/Kenneth A. Feinswog
   21                                            KENNETH A. FEINSWOG
                                                 Attorney for Plaintiffs
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   23                                            Culver City, CA 90230
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   24
                                                 Facsimile: (310)-846-5801
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